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 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:10-CR-00131-AWI
                                           )
12                    Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   JOSEPH NOLAN,                         )
                                           )
15                    Defendant.           )
                                           )
16                                         )
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Joseph Nolan, it is hereby
19   ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 21 U.S.C. § 853, defendant Joseph Nolan’s
21   interest in the following property shall be condemned and forfeited
22   to the United States of America, to be disposed of according to law:
23             a.    Grow Equipment: 65 sets of bubble bags,
               b.    Grow Equipment: 42 Lumatek - LK1000
24                   transformers,
               c.    Grow Equipment: 9 1000 watt transformers,
25             d.    Grow Equipment: Nextgen transformer,
               e.    Grow Equipment: 51 Hydrofarm reflective
26                   light hoods,
               f.    Grow Equipment: 2 Carbon Filers,
27             g.    Grow Equipment: 2 Sentinel CO2 generators,
               h.    Grow Equipment: 2 Bug fumigation canisters,
28             i.    Grow Equipment: Trim Reaper - Marijuana
                     trimmer,



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 1              j.     Grow Equipment: Water filter, and
                k.     Grow Equipment: 2 Vent Fans 10".
 2
 3        2.    The above assets were used, or intended to be used, in any
 4   manner or part, to commit, or to facilitate the commission of a
 5   violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 846.
 6        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 7   designee) shall be authorized to seize the above-listed property.
 8   The aforementioned property shall be seized and held by the United
 9   States Marshals Service in their secure custody and control.
10        4.   a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the
11   United States shall publish notice of the order of forfeiture.
12   Notice of this Order and notice of the Attorney General’s (or a
13   designee’s) intent to dispose of the property in such manner as the
14   Attorney General may direct shall be posted for at least 30
15   consecutive days on the official internet government forfeiture site
16   www.forfeiture.gov.     The United States may also, to the extent
17   practicable, provide direct written notice to any person known to
18   have alleged an interest in the property that is the subject of the
19   order of forfeiture as a substitute for published notice as to those
20   persons so notified.
21              b.     This notice shall state that any person, other than
22   the defendants, asserting a legal interest in the above-listed
23   property, must file a petition with the Court within sixty (60) days
24   from the first day of publication of the Notice of Forfeiture posted
25   on the official government forfeiture site, or within thirty (30)
26   days from receipt of direct written notice, whichever is earlier.
27        5.    If a petition is timely filed, upon adjudication of all
28   third-party interests, if any, this Court will enter a Final Order of




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 1   Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will
 2   be addressed.
 3   IT IS SO ORDERED.
 4
     Dated:    May 23, 2013
 5   0m8i78                                         SENIOR DISTRICT JUDGE
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